
615 N.W.2d 774 (2000)
241 Mich. App. 258
TITAN INSURANCE COMPANY, as subrogee of Mary and John Hassinger, Plaintiffs-Appellees,
v.
FARMERS INSURANCE EXCHANGE, Defendant-Appellant.
Docket No. 214449.
Court of Appeals of Michigan.
Submitted February 8, 2000, at Detroit.
Decided May 23, 2000, at 9:00 a.m.
Released for Publication August 29, 2000.
Orlans Associates PC (by Linda M. Orlans, Deborah Molitz and James Swaim), Troy, for the plaintiff.
Cory &amp; Wesley (by Tara Hanley Bratton), Troy, for the defendant.
Before: HOLBROOK, JR., P.J., and MICHAEL J. KELLY and COLLINS, JJ.
PER CURIAM.
Defendant, Farmers Insurance Exchange, appeals as of right from the circuit court's order awarding plaintiff, Titan Insurance Company, reimbursement by defendant of personal protection insurance (PIP) benefits paid by Titan to Mary Hassinger and John Hassinger as a result of *775 injuries suffered by their son in an automobile accident. We affirm.
Defendant argues on appeal that plaintiff's claim for recoupment of PIP benefits paid by plaintiff to the Hassingers pursuant to Michigan's no-fault act, M.C.L. § 500.3101 et seq.; MSA 24.13101 et seq., was barred by the one-year period of limitation found in M.C.L. § 500.3145(1); MSA 24.13145(1). We disagree. When the underlying facts are not disputed, whether a claim is barred by a statutory limitations period is a question of law that this Court reviews de novo. Pitsch v. ESE Michigan, Inc., 233 Mich.App. 578, 600, 593 N.W.2d 565 (1999).
Subsection 3115(2) of the no-fault act, M.C.L. § 500.3115(2); MSA 24.13115(2), provides, in pertinent part, as follows:
When 2 or more insurers are in the same order of priority to provide personal protection insurance benefits an insurer paying benefits due is entitled to partial recoupment from the other insurers in the same order of priority, together with a reasonable amount of partial recoupment of the expense of processing the claim, in order to accomplish equitable distribution of the loss among such insurers.
It is undisputed in this case that plaintiff and defendant were insurers "in the same order of priority" for purposes of the payment of PIP benefits to the Hassingers. However, the parties disagree with regard to the applicable statute of limitations. Defendant contends that plaintiff's claim for recoupment is subject to the one-year statute of limitations provision of subsection 3145(1) of the no-fault act, M.C.L. § 500.3145(1); MSA 24.13145(1), which provides, in pertinent part, as follows:
An action for recovery of personal protection insurance benefits payable under this chapter for accidental bodily injury may not be commenced later than 1 year after the date of the accident causing the injury unless written notice of injury as provided herein has been given to the insurer within 1 year after the accident or unless the insurer has previously made a payment of personal protection insurance benefits for the injury.
Plaintiff, on the other hand, contends that its claim is subject to the general six-year limitation period for personal actions set forth in M.C.L. § 600.5813; MSA 27A.5813, which provides: "All other personal actions shall be commenced within the period of 6 years after the claims accrue and not afterwards unless a different period is stated in the statutes."
The primary goal of judicial interpretation of statutes is to ascertain and give effect to the intent of the Legislature. Frankenmuth Mut. Ins. Co. v. Marlette Homes, Inc., 456 Mich. 511, 515, 573 N.W.2d 611 (1998). The first criterion in determining intent is the specific language of the statute. In re MCI Telecommunications Complaint, 460 Mich. 396, 411, 596 N.W.2d 164 (1999). Statutes that relate to the same subject or share a common purpose are in pari materia and must be read together as one law, even if they contain no reference to one another and were enacted on different dates. State Treasurer v. Schuster, 456 Mich. 408, 417, 572 N.W.2d 628 (1998). However, a statute "must be construed sensibly and in harmony with the legislative purpose." Adams v. Auto Club Ins. Ass'n, 154 Mich.App. 186, 195, 397 N.W.2d 262 (1986), quoting Rusinek v. Schultz, Snyder &amp; Steele Lumber Co., 411 Mich. 502, 508, 309 N.W.2d 163 (1981).
While we recognize that plaintiff's claim falls within the no-fault act, we disagree with defendant that because plaintiff seeks reimbursement under the act, its claim automatically falls within the period of limitation provided for in subsection 3145(1). We turn first to the language of subsection 3115(2) and note that it provides a specific right of partial recoupment by one no-fault insurer of PIP benefits paid by another no-fault insurer of the same order of priority, independent of an *776 accident victim's right to payment of PIP benefits. Thus, this case is distinguishable from those in which an insurer's right to recovery or reimbursement from another insurer was found to be subrogated to the insured's right to recovery and therefore subject to the period of limitation in § 3145. See, e.g., Amerisure Cos. v. State Farm Mut. Automobile Ins. Co., 222 Mich.App. 97, 564 N.W.2d 65 (1997); Michigan Mut. Ins. Co. v. Home Mut. Ins. Co., 108 Mich.App. 274, 310 N.W.2d 362 (1981); Federal Kemper Ins. Co. v. Western Ins. Cos., 97 Mich.App. 204, 293 N.W.2d 765 (1980); Keller v. Losinski, 92 Mich.App. 468, 285 N.W.2d 334 (1979). Moreover, in a slightly different context, this Court has found the limitation period of subsection 3145(1) inapplicable where an insurer brought its claim for reimbursement not as a subrogee of an insured, but independently, pursuant to a statutory right to reimbursement. See Allen v. Farm Bureau Ins. Co., 210 Mich.App. 591, 595-597, 534 N.W.2d 177 (1995).
Finally, the purpose of the no-fault insurance system is "to provide  victims of motor vehicle accidents assured, adequate, and prompt reparation for certain economic losses." Shavers v. Attorney General, 402 Mich. 554, 579, 267 N.W.2d 72 (1978). (Emphasis added). Where, as here, a no-fault insurer promptly pays benefits, the purpose of the statute is served. Refusing to apply the limitation period of subsection 3145(1) to a subsequent claim by that no-fault insurer for partial recoupment of benefits paid from another no-fault insurer of equal priority, "to accomplish equitable distribution of the loss among such insurers," subsection 3115(2), does not thwart that purpose. See Auto Club Ins. Ass'n v. New York Life Ins. Co., 440 Mich. 126,137, n. 8, 485 N.W.2d 695 (1992).
Accordingly, we conclude that the circuit court properly held subsection 3145(1) inapplicable to plaintiff's action. Our Supreme Court has expressly characterized M.C.L. § 600.5813; MSA 27A.5813 as the statute of limitation applicable to personal actions " `not otherwise provided for.'" Insurance Comm'r v. Aageson Thibo Agency, 226 Mich.App. 336, 344, 573 N.W.2d 637 (1997), quoting Detroit v. Walker, 445 Mich. 682, 705, 520 N.W.2d 135 (1994). Because there is no period of limitation directly applicable to plaintiff's claim, the limitation period provided for in M.C.L. § 600.5813; MSA 27A.5813 applies. Plaintiff filed its action within the six-year limitation period; therefore, its right to recoupment of PIP benefits and reasonable expenses relating to the Hassingers' claim was not time-barred.
Because subsection 3145(1) does not apply to plaintiff's claim, it is unnecessary to address the remaining issue raised by defendant on appeal.
Affirmed.
